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                   IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

 IN RE:
 JANICE Y. THOMAS                                         Case No. 21-11344-amc
        Debtor
                                                          Chapter 13
 WELLS FARGO BANK, N.A.
         Movant

 vs.
 JANICE Y. THOMAS
      Respondent                                          11 U.S.C. §362

   MOTION FOR RELIEF FROM AUTOMATIC STAY UNDER §362 PURSUANT TO
                 BANKRUPTCY PROCEDURE RULE 4001

        Movant, by its attorneys, Brock and Scott PLLC, hereby requests a termination of Automatic

Stay and leave to foreclose on its mortgage on real property owned by Janice Y. Thomas (the

“Debtor”).

        1.      Movant is Wells Fargo Bank, N.A.

        2.      Debtor, Janice Thomas, is the owner of the premises located at 602 Wanamaker

Road, Abington Township, Pennsylvania 19046 f/k/a 602 Wanamaker Road, Abinton Township,

Pennsylvania 19046 hereinafter known as the mortgaged premises.

        3.      Movant is the holder of a mortgage on the mortgaged premises.

        4.      Debtor's failure to tender monthly payments in a manner consistent with the terms of

the Mortgage and Note result in a lack of adequate protection.

        5.      Movant instituted foreclosure proceedings on the mortgage because of Debtor's failure

to make the monthly payment required hereunder.

        6.      The foreclosure proceedings instituted were stayed by the filing of the instant Chapter

13 Petition.

        7.      The following chart sets forth the number and amount of post-petition payments
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due pursuant to the terms of the Note that have been missed as of August 29, 2022:

 Number of             From                   To              Monthly        Total Amounts
  Missed                                                      Payment           Delinquent
 Payments                                                      Amount
    3               06/01/2022            08/01/2022          $1,885.20         $5,655.60
                                               Less partial payments (suspense balance): $0.00
                                                                                 Total: $5,655.60

        8.      A post-petition payment history is attached hereto as Exhibit “A”.

        9.      The next payment is due on or before September 1, 2022 in the amount of $1,885.20.

Under the terms of the Note and Mortgage, Debtor has a continuing obligation to remain current post-

petition and failure to do so results in a lack of adequate protection to Movant.

        10.     Movant has cause to have the Automatic Stay terminated as to permit Movant to

complete foreclosure on its mortgage.

        11.     Movant specifically requests permission from the Honorable Court to communicate

with and Debtor and Debtor's counsel to the extent necessary to comply with applicable non-

bankruptcy law.

        12.     Movant, it's successors and assignees posits that due to Debtor's continuing failure to

tender post-petition mortgage payments and the resulting and ever-increasing lack of adequate

protection that said failure presents, sufficient grounds exist for waiver of Rule 4001(a)(3), and that

Movant, its successors or assignees should be allowed to immediately enforce and implement the

Order granting relief from the automatic stay.

        13.     Movant requests that if relief is granted that Federal Rule of Bankruptcy Procedure

3002.1 be waived.

        WHEREFORE, Movant respectfully requests that this Court enter an Order;

        a.      Modifying the Automatic Stay under Section 362 with respect to 602 Wanamaker

Road, Abington Township, Pennsylvania 19046 f/k/a 602 Wanamaker Road, Abinton Township,
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Pennsylvania 19046 (as more fully set forth in the legal description attached to the Mortgage of record

granted against the Premises), as to allow Movant, its successors and assignees, to proceed with its

rights under the terms of said Mortgage; and


       b.      Movant specifically requests permission from this Honorable Court to communicate

with Debtor and Debtor's counsel to the extent necessary to comply with applicable non-bankruptcy

law; and

       c.      Holding that due to Debtor's continuing failure to tender post-petition mortgage

payments and the resulting and ever-increasing lack of adequate protection that said failure presents,

sufficient grounds exist for waiver of Rule 4001(a)(3), and that Movant, its successors or assignees,

should be allowed to immediately enforce and implement the Order granting relief from the automatic

stay; and

       d.      Waiving Federal Rule of Bankruptcy Procedure 3002.1; and

       e.      Granting any other relief that this Court deems equitable and just.

September 2, 2022

                                               /s/Andrew Spivack
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